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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case Number: 09-cr-117-
                                                  01/06-13/18-SM

Trevor Allain, Nicholas Champagne,
David Coulombe, Arash Rahbar,
Thomas Donahue, Jeremie St. Pierre,
James W. Molfetta, Michael Gardner,
Derek M. Dutcher, Jonathan Sauriol
     Defendants

                                    ORDER


      Defendant Molfetta’s assented to motion to continue the trial is granted

(document no. 121). Trial has been rescheduled for the May 2010 trial period.

Defendant shall file a Waiver of Speedy Trial Rights not later than March 5, 2010,

On the filing of such waiver, his continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for May 12, 2010 at

4:00 p.m. in Room 421.

      Jury selection will take place on May 18, 2010 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                        Steven J. McAuliffe
                                           Chief Judge

February 23, 2010

cc:   Counsel of Record
      Debra Walsh, AUSA
      U.S. Marshal
      U.S. Probation




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